                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA

AARON POWELL, individually and on behalf
of all others similarly situated,
                                                          Civil Action No. 5:19-cv-00235-FL
                    Plaintiff,
                                                            ANSWER TO COMPLAINT
         v.

ABBOTT LABORATORIES INC., and ST.
JUDE MEDICAL S.C., INC.,

                    Defendants.


         Defendants ABBOTT LABORATORIES INC. and ST. JUDE MEDICAL S.C., INC.,

pursuant to Fed. R. Civ. P. 8 & 12, states as follows for its Answer to Plaintiff’s Complaint:

                                      NATURE OF ACTION

COMPLAINT ¶1:

        Powell contends that Abbott violated the Fair Labor Standards Act of 1938, 29 U.S.C. §§
201, et seq. (“FLSA”) by knowingly suffering and/or permitting Powell and the putative
Collective members (hereinafter collectively referred to as “Plaintiffs”) to work in excess of 40
hours per week without properly compensating them at an overtime premium rate for these
overtime hours.

ANSWER:

         Defendants admit that Plaintiff makes the allegations he articulates, but denies those

allegations in this paragraph.

                                  JURISDICTION AND VENUE

COMPLAINT ¶2:

        This Court has subject-matter jurisdiction over this action pursuant to 29 U.S.C. §216(b),
which provides that suit under the FLSA “may be maintained against any employer ... in any
Federal or State court of competent jurisdiction.” Powell has signed an opt-in consent form to
join this lawsuit. (Exhibit A).

ANSWER:

         Defendants admit the allegations of this paragraph.




57609234v.1
              Case 5:19-cv-00235-FL Document 8 Filed 07/03/19 Page 1 of 14
COMPLAINT ¶3:

       This Court has jurisdiction over Powell’s claims pursuant to 28 U.S.C. §1331 because
Powell’s claims arise under the FLSA.

ANSWER:

         Defendant admits the allegations of this paragraph.

COMPLAINT ¶4:

      Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because Defendants
conduct business in this District.

ANSWER:

         Defendants admit the allegations of this paragraph.

                                              PARTIES

COMPLAINT ¶5:

       Upon information and belief, in or about January 2017, Abbott acquired St. Jude
Medical, thus adding a line of cardiovascular medical devices to its product line and offering
employment to many of St. Jude Medical’s employees. Abbott owns 100% of St. Jude Medical
stock.

ANSWER:

         Defendants admit that, since January 2017, Abbott Laboratories Inc. has been the

ultimate parent of St. Jude Medical S.C., Inc. but deny the remaining allegations of this

paragraph. Defendants assume that all references in the Complaint to “St. Jude Medical” refer to

St. Jude Medical S.C., Inc.

COMPLAINT ¶6:

         St. Jude Medical is a Minnesota corporation with its principal place of business in Austin,
Texas.

ANSWER:

         Defendants admit the allegations of this paragraph and further states that it also has a

principal place of business in St. Paul, Minnesota.




                                         - 2 - 8 Filed 07/03/19 Page 2 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
COMPLAINT ¶7:

       Abbott is a foreign business corporation registered and in good standing in the State of
North Carolina since 1967, with its principal place of business located in Abbott Park, Illinois.

ANSWER:

         Defendants admit the allegations of this paragraph.

COMPLAINT ¶8:

       Defendants’ gross annual sales made or business done has been in excess of $500,000 for
each of the three year periods prior to the filing of this Complaint.

ANSWER:

         Defendants admit the allegations of this paragraph.

COMPLAINT ¶9:

       Powell is a resident of Apex, North Carolina. Powell worked for St. Jude Medical and
became an employee of Abbott following Defendant Abbott’s acquisition of St. Jude Medical.
Powell was employed by Abbott from approximately January 2017 through September 2017.
Powell’s job title at St. Jude Medical was Integrated Lab Engineer. Following the acquisition,
Powell’s job title was changed to Field Service Engineer (“FSE”). At all times relevant,
Powell’s primary job duty was installing, repairing, troubleshooting, servicing and maintaining
cardiovascular medical devices manufactured by Defendants.

ANSWER:

         On information and belief, Defendants admit that Powell is a resident of Apex, North

Carolina. Defendants admit that Powell was employed by St. Jude Medical S.C., Inc. with a title

of Engineer II, Integrated Systems during the relevant time period. Defendants deny the

remaining allegations of the paragraph.

COMPLAINT ¶10:

       At all times relevant, Defendants were Powell’s “employer” as defined by the FLSA, 29
U.S.C. §203(d), and was actively engaged in the conduct described herein. Throughout the
relevant period, Defendants employed Powell and similarly-situated employees within the
meaning of the FLSA.




                                         - 3 - 8 Filed 07/03/19 Page 3 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
ANSWER:

         Defendants deny that Powell and others are similarly-situated employees within the

meaning of the FLSA. Defendants admit the remaining allegations of this paragraph.

                                              FACTS

COMPLAINT ¶11:

        Powell brings this action on behalf of himself and all other similarly situated individuals.
Plaintiffs were, or are, employed by Defendants in the field as FSEs, field service technicians
(“FST”), or other job titles performing similar duties, within three years of the date this
Complaint was filed. Plaintiffs’ primary job duties and responsibilities consist or consisted of
non-exempt work: installing, repairing, troubleshooting, servicing and maintaining
cardiovascular medical instrumentation and devices manufactured by Defendants. FSEs and
FSTs install, service, and repair the same cardiovascular medical devices, with the exception of a
device called Mediguide, which only FSEs are permitted to work on.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶12:

       Defendants suffered and permitted Plaintiffs to work more than forty (40) hours per week
without overtime pay.

ANSWER:

         Defendants admit that Plaintiff on occasion worked more than 40 hours in a week and

that he was not eligible for overtime pay when he did so. Defendants deny the remaining

allegations of this paragraph.

COMPLAINT ¶13:

       Defendants paid Powell a salary during each week of his tenure with no overtime pay for
hours worked in excess of 40.

ANSWER:

         Defendants admit the allegations of this paragraph.




                                         - 4 - 8 Filed 07/03/19 Page 4 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
COMPLAINT ¶14:

        Defendants changed the pay of other cardiovascular FSEs and FSTs from salary to
hourly, or hourly to salary (with no overtime pay), during different time periods during the three
year period prior to the date this Complaint was filed. Regardless of the manner of pay, the job
duties of these FSEs and FSTs did not change, nor did the hours they worked.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶15:

       Powell estimates that during his tenure with Defendants, he worked between 70 to 80
hours each week, including travel time, depending on the needs of Defendants. Based on
Powell’s discussions and observation with other cardiovascular FSEs and FSTs, Powell has
personal knowledge that other FSEs and FSTs perform similar job duties and regularly work or
worked in excess of 40 hours per week and were not paid overtime during the periods these
individuals were paid a salary.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶16:

        Despite the fact that the Plaintiffs did not meet any test for exemption, Defendants failed
to pay them the requisite overtime rate of 1½ times their regular rate for all hours worked more
than 40 hours per week (“Overtime Hours”).

ANSWER:

         Defendants admit that Plaintiff was not eligible for overtime premiums on the occasions

in which he worked more than 40 hours in a week. Defendants deny the remaining allegations of

this paragraph.

COMPLAINT ¶17:

       Defendants knew, and was aware at all times, of the above-mentioned violations because
Defendants assigned the work and required that Plaintiffs work whatever number of hours were
necessary to complete all of their job duties and responsibilities.

ANSWER:

         Defendants deny the allegations of this paragraph.




                                         - 5 - 8 Filed 07/03/19 Page 5 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
COMPLAINT ¶18:

      In or about March 2018, one of Defendants’ cardiovascular FST complained to
Defendants’ management via letter that Defendants unlawfully misclassified FSEs and FSTs as
exempt from the overtime provisions of the FLSA.

ANSWER:

         Defendants admit that a field service technician complained in March 2018 to Abbott

management that he believed that field service engineers were misclassified as exempt.

Defendants deny the remaining allegations of this paragraph.

                     DEFENDANT WILLFULLY VIOLATED THE FLSA

COMPLAINT ¶19:

         Defendants have no legitimate basis to believe the Plaintiffs were exempt from the
overtime requirements of the FLSA. Instead, Defendants either knew or acted with reckless
disregard of clearly applicable FLSA provisions in failing to pay Plaintiffs overtime
compensation for all Overtime Hours worked. Defendants’ willful actions and/or willful failures
to act, included, but were not necessarily limited to:

         a.      Defendants maintained or should have maintained payroll and time keeping
                 records that reflected that Plaintiffs did, in fact, regularly work Overtime Hours
                 and therefore, Defendants had actual or constructive knowledge that the Plaintiffs
                 worked overtime;

         b.      Defendants knew that it did not pay Plaintiffs one and one half (1½) times their
                 regular rate of pay for all Overtime Hours worked;

         c.      Defendants lacked any good-faith basis to believe that cardiovascular FSEs and
                 FSTs fit within any exemption from the overtime requirements of the FLSA; and

         d.      Defendants were aware from prior FLSA litigation and employee complaints that
                 its FSEs and FSTs in its other divisions were not exempt from the overtime
                 provisions of the FLSA.

ANSWER:

         Defendants deny the allegations of this paragraph.




                                         - 6 - 8 Filed 07/03/19 Page 6 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
                        FLSA COLLECTIVE ACTION ALLEGATIONS

COMPLAINT ¶20:

       Powell brings this collective action on behalf of himself and all others similarly situated
pursuant to 29 U.S.C. § 216(b) to recover unpaid overtime wages, liquidated damages, and other
damages related to Defendants’ violation of the FLSA.

ANSWER:

         Defendants admits that Plaintiff purports to bring this case as a collective action for the

relief he claims. Defendants deny the remaining allegations of this paragraph.

COMPLAINT ¶21:

         Powell pursues the requested relief on behalf of the following individuals (“the Class”):

                 All individuals who currently work, or have worked, for Defendants
                 as a Field Service Engineer, Field Service Technician, or any other
                 similarly titled position or position performing similar job duties, in
                 Defendants’ Cardiovascular Division at any time within the
                 preceding 3-years from the date of filing the complaint.

ANSWER:

         Defendants admits that Plaintiff purports to bring this case as a collective action on behalf

of those he describes. Defendants deny the remaining allegations of this paragraph.

COMPLAINT ¶22:

       Powell is a member of the class he seeks to represent because he was a Field Service
Engineer employed by Defendants during the relevant period, routinely suffered or was
permitted to work more than 40 hours per week, as described above, and was not paid an
overtime premium rate for the time he worked over 40 hours per week.

ANSWER:

         Defendants admit that Powell was employed with the title Engineer II, Integrated

Systems and was not eligible for an overtime premium when he worked more than 40 hours in a

week. Defendants deny the remaining allegations of this paragraph.




                                         - 7 - 8 Filed 07/03/19 Page 7 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
COMPLAINT ¶23:

         Specifically, Defendants engaged in common schemes to avoid paying Plaintiffs’
overtime pay when they worked in excess of 40 hours per week, even though Plaintiffs did not
satisfy the necessary conditions exempting them from overtime.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶24:

        Although Plaintiffs may have worked in different locations throughout the relevant
period, this action may be properly maintained as a collective because:

         a.       Powell and the Plaintiffs were all paid under the same compensation structure;

         b.       Powell and the Plaintiffs performed similar job duties;

         c.       Powell and the Plaintiffs worked in excess of 40 hours per week during one or
                  more workweeks while employed by Abbott;

         d.       Regardless of their location, Abbott did not pay Powell and the Plaintiffs an
                  overtime premium of 1 1/2 times their regular hourly rate for all time worked in
                  excess of 40 hours per week; and

         e.       Defendants maintained common timekeeping and payroll systems and policies
                  with respect to Powell and the Plaintiffs, regardless of their location.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶25:

        Defendants encouraged, suffered and permitted Powell and Plaintiffs to work more than
forty (40) hours per week without proper overtime compensation.

ANSWER:

         Defendants admit that Plaintiff was not eligible for overtime premiums on the occasions

in which he worked more than 40 hours in a week. Defendants deny the remaining allegations of

this paragraph.




                                         - 8 - 8 Filed 07/03/19 Page 8 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
COMPLAINT ¶26:

       Defendants knew that Powell and Plaintiffs performed work that required additional
wages and overtime compensation to be paid. Nonetheless, Defendants operated under a
scheme, as previously described, to deprive Powell and Plaintiffs of wages and overtime
compensation.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶27:

        Defendants’ conduct as alleged herein was willful and has caused damage to Powell and
to Plaintiffs.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶28:

        Defendants are liable under the FLSA for failing to properly compensate Powell and
Plaintiffs. Plaintiffs request that the Court authorize notice to the members of the collective
Class to inform them of the pendency of this action and their right to “opt-in” to this lawsuit
pursuant to 29 U.S.C. § 216(b) for the purpose of seeking unpaid overtime compensation,
liquidated damages under FLSA, and the other relief requested herein.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶29:

        Powell estimates that the collective Class, including both current and former employees
over the relevant period, will include approximately 50-60 members. The precise number of
collective Class members should be readily available from Defendants’ personnel, scheduling,
time and payroll records, and from input received from Powell as part of the notice and “opt-in”
process provided by 29 U.S.C. § 216(b). Given the composition and size of the collective class,
its members may be informed of the pendency of this action directly via U.S. mail and e-mail.

ANSWER:

         Defendants deny the allegations of this paragraph.




                                         - 9 - 8 Filed 07/03/19 Page 9 of 14
              Case 5:19-cv-00235-FL Document
57609234v.1
                                              COUNT I

                 FAILURE TO PAY OVERTIME WAGES UNDER THE FLSA
                        FOR ALL OVERTIME HOURS WORKED

COMPLAINT ¶30:

      Powell realleges and incorporates by this reference all the paragraphs above in this
Complaint as though fully set forth herein.

ANSWER:

          Defendants reincorporate its answers to all paragraphs above as though fully set forth

herein.

COMPLAINT ¶31:

       Defendants operate an “enterprise” as defined by Section 3(r)(1) of the FLSA, 29 U.S.C.
§ 203(r)(1), and are engaged in commerce within the meaning of Section 3(s)(1)(A), 29 U.S.C. §
203(s)(1)(A).

ANSWER:

          Defendants admit the allegations in this paragraph.

COMPLAINT ¶32:

       Powell and the Class members are similarly-situated individuals within the meaning of
the FLSA, 29 U.S.C. § 216(b).

ANSWER:

          Defendants deny the allegations of this paragraph.

COMPLAINT ¶33:

         FLSA Section 207(a)(1) states that an employee must be paid an overtime rate, equal to
at least l½ times the employee’s regular rate of pay, for all hours worked in excess of 40 hours
per week.

ANSWER:

          This paragraph contains only a recitation of statutory language to which no response is

required.




                                         - 10 8
              Case 5:19-cv-00235-FL Document  - Filed 07/03/19 Page 10 of 14
57609234v.1
COMPLAINT ¶34:

       Throughout the relevant period, Defendants violated the FLSA by routinely suffering or
permitting Powell and Plaintiffs to work overtime hours each week without paying them
premium overtime pay.

ANSWER:

         Defendants admit that Plaintiff was not eligible for overtime premiums on the occasions

in which he worked more than 40 hours in a week. Defendants deny the remaining allegations of

this paragraph.

COMPLAINT ¶35:

        Throughout the relevant period, Powell and Plaintiffs each worked in excess of 40 hours
per week during one or more workweeks but were not paid an overtime premium of times their
regular hourly rate for those additional hours.

ANSWER:

         Defendants admit that Plaintiff was not eligible for overtime premiums on the occasions

in which he worked more than 40 hours in a week. Defendants deny the remaining allegations of

this paragraph.

COMPLAINT ¶36:

         The foregoing actions of Defendants violated the FLSA.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶37:

         Defendants’ actions were willful and not in good faith.

ANSWER:

         Defendants deny the allegations of this paragraph.




                                         - 11 8
              Case 5:19-cv-00235-FL Document  - Filed 07/03/19 Page 11 of 14
57609234v.1
COMPLAINT ¶38:

       Powell and Plaintiffs have been harmed as a direct and proximate result of Defendants’
unlawful conduct because they have been deprived of overtime wages owed for time worked in
excess of 40 hours per week from which Defendants derived a direct and substantial benefit.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶39:

       Defendants are liable to Powell and Plaintiffs for actual damages, liquidated damages and
equitable relief pursuant to 29 U.S.C. § 216(b) as well as reasonable attorneys’ fees, costs and
expenses.

ANSWER:

         Defendants deny the allegations of this paragraph.

COMPLAINT ¶40:

       Powell and Plaintiffs are also entitled to injunctive relief to prevent Defendants from
continuing their violation of the FLSA and other appropriate class-wide injunctive relief.

ANSWER:

         Defendants deny the allegations of this paragraph.

                                   AFFIRMATIVE DEFENSES

         1.      Plaintiff has been exempt from the overtime provisions of the FLSA under its

white-collar exemptions, including but not limited to the administrative exemption.

         2.      Defendants acted in good faith and had reasonable grounds for believing that they

acted properly in classifying Plaintiff as exempt.

         3.      Plaintiff’s claims are barred, in whole or in part, by statutory exclusions,

exceptions, setoffs, or credits under the FLSA because Plaintiff received full payment for all

worked performed; alternatively, Defendants are entitled to a set off of any amount of relief

claimed by Plaintiff based on compensation previously paid by Defendants to Plaintiff.




                                         - 12 8
              Case 5:19-cv-00235-FL Document  - Filed 07/03/19 Page 12 of 14
57609234v.1
         Defendants reserve the right to amend its Answer to assert any additional affirmative

defenses as may become available or applicable during the course of this litigation.

                                                   Respectfully submitted,

                                                   ABBOTT LABORATORIES INC. AND ST.
                                                   JUDE MEDICAL S.C., INC.



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Date: July 3, 2019




                                         - 13 8
              Case 5:19-cv-00235-FL Document  - Filed 07/03/19 Page 13 of 14
57609234v.1
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AARON POWELL, individually and on behalf
of all others similarly situated,
                                                       Civil Action No. 5:19-cv-00235-FL
                    Plaintiff,

         v.

ABBOTT LABORATORIES INC., and ST.
JUDE MEDICAL S.C., INC.,

                    Defendants.


                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 3, 2019, I electronically filed DEFENDANTS’ ANSWER

AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT with the Clerk of Court

using the CM/ECF system, which will automatically send electronic notification of such filing to

the following attorneys of record:

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57609234v.1
              Case 5:19-cv-00235-FL Document 8 Filed 07/03/19 Page 14 of 14
